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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

VOIP-PAL.COM, INC.,

                   Plaintiff

v.                                                      CASE NO. 6:21-cv-00670-ADA

APPLE INC.,

                   Defendant.



                 STIPULATION OF DISMISSAL WITHOUT PREJUDICE


       Pursuant to Fed. R. Civ. P. 41(a)(1), Plaintiff VoIP-Pal.com, Inc. and Defendant Apple

Inc. stipulate and notify the Court that this action, including all of the claims and affirmative

defenses asserted in this action, is dismissed without prejudice. The parties stipulate that all

pending requested relief may be denied without prejudice as moot. The parties further stipulate

each party is to bear its own fees, expenses, and costs. Pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii), this stipulation is signed by all parties, and the dismissal of this action without

prejudice is effective without a court order.




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 Dated: October 22, 2021                   Respectfully submitted,


/s/ Ameet A. Modi (with permission)

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